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 1 Brendan P. Glackin (SBN 199643)                       Glenn D. Pomerantz (SBN 112503)
   bglackin@agutah.gov                                   glenn.pomerantz@mto.com
 2
   Lauren M. Weinstein (pro hac vice)                    MUNGER, TOLLES & OLSON LLP
 3 lweinstein@agutah.gov                                 350 South Grand Avenue, Fiftieth Floor
   OFFICE OF THE UTAH ATTORNEY                           Los Angeles, California 90071
 4 GENERAL                                               Telephone: (213) 683-9100
   160 E 300 S, 5th Floor
 5 PO Box 140872
                                                         Brian C. Rocca (SBN 221576)
 6 Salt Lake City, UT 84114-0872                         brian.rocca@morganlewis.com
   Telephone: (801) 366-0260                             MORGAN, LEWIS & BOCKIUS LLP
 7
                                                         One Market, Spear Street Tower
   Counsel for the Plaintiff States                      San Francisco, CA 94105-1596
 8
                                                         Telephone: (415) 442-1000
 9

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11                                                       Counsel for Defendants Google LLC et al.

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13                                UNITED STATES DISTRICT COURT
14                             NORTHERN DISTRICT OF CALIFORNIA
15
                                       SAN FRANCISCO DIVISION
16

17 IN RE GOOGLE PLAY STORE                                Case No. 3:21-md-02981-JD
   ANTITRUST LITIGATION
18
   THIS DOCUMENT RELATES TO:                              STIPULATION AND [PROPOSED]
19                                                        ORDER RE: GOOGLE-PRODUCED
   State of Utah et al. v. Google LLC et al.,             DOCUMENTS IN UNITED STATES V.
20 Case No. 3:21-cv-05227-JD                              GOOGLE LLC

21                                                        Judge: Hon. James Donato

22

23          WHEREAS Defendants have agreed that, subject to the procedure outlined in this

24 stipulation, the Plaintiff States may produce to the non-State Plaintiffs (the “Private Plaintiffs”) in

25 the above-captioned MDL certain documents Defendants initially produced in the matters United

26 States v. Google LLC, No. 03010 (D.D.C.) and Colorado, et al. v. Google LLC, No. 03715

27 (D.D.C.) (collectively, the “Search Matter”), excluding documents any non-party produced to any

28 of the parties in the Search Matter;
                                             -1-                 Case No. 3:21-md-02981-JD
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                                          GOOGLE LLC
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 1          NOW, THEREFORE, Defendants and the Plaintiff States hereby stipulate and agree,

 2 subject to the Court’s approval, as follows:

 3          1.      To the extent the Plaintiff States seek to use in this MDL any of the documents

 4 produced by Defendants in the Search Matter that were not produced by Defendants during

 5 discovery in this MDL (hereinafter, “Search Matter Documents”), the Plaintiff States will produce

 6 such Search Matter Documents no later than 90 days before the first day of trial, and, if Plaintiffs

 7 plan to rely on the Search Matter Documents in connection with motions for summary judgment,

 8 Plaintiffs will produce such Search Matter Documents no later than two weeks before opening

 9 summary judgment briefs are due to the extent Plaintiffs can in good faith identify or anticipate

10 using those documents. If Plaintiffs identify additional Search Matter Documents that they will

11 rely on in connection with summary judgment after seeing opening briefs, Plaintiffs will produce

12 those documents no later than two weeks before summary judgment opposition briefs are due.

13 Plaintiffs States will adhere to the following protocol:

14                  a.     The Plaintiff States shall not “dump” the Search Matter Documents into this

15 MDL or otherwise give to the Private Plaintiffs unfettered access to documents produced in the

16 Search Matter;

17                  b.     The Plaintiff States may produce to the Private Plaintiffs Search Matter

18 Documents which the Plaintiff States believe in good faith are reasonably related to their claims or

19 Defendants’ defenses in the MDL, and which the Plaintiff States reasonably believe may be used

20 as evidence or as the basis for expert testimony in this MDL;

21                  c.     Prior to any production by the Plaintiff States of Search Matter Documents

22 in this MDL, the Plaintiff States shall give Google at least one week advance notice of such

23 production, including a list of the beginning Bates numbers (from the Search Matter) planned for

24 production in this MDL. If Defendants, in good faith, assert that the intended production is an

25 untailored document “dump,” or is otherwise improper, Plaintiff States agree to meet and confer in

26 good faith with Defendants regarding the scope of the proposed production.

27                  d.     The States shall provisionally label the Search Matter Documents with the

28 highest level of protection under the operative protective order prior to disclosing or using the
                                             -2-                 Case No. 3:21-md-02981-JD
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 1 document, as follows: “PROV – HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”

 2 unless third-party information requires a “PROV – NON-PARTY HIGHLY CONFIDENTIAL –

 3 OUTSIDE COUNSEL EYES ONLY” designation;

 4                 e.      The States shall assign the Search Matter Document a Bates number

 5 specific to this MDL, while preserving the Bates numbering associated with the document as

 6 produced in the Search Matter;

 7                 f.      For purposes of preserving the rights and obligations under the operative

 8 Protective Order, Google shall be considered the Designating Party and/or Producing Party for any

 9 Search Matter Document produced pursuant to this protocol; and

10                 g.      The States shall produce any Search Matter Documents simultaneously to

11 all parties to this MDL. For the avoidance of doubt, this requirement does not apply to Search

12 Matter Documents produced by Defendants during discovery in the MDL, including Search

13 Matter Documents eliminated from the Search Matter Production as duplicates of the pre-existing

14 MDL production.

15          2.     Google reserves all rights as to any documents produced pursuant to this protocol,

16 including the right to supplement its expert reports, served on November 18, 2022, with citation to

17 any documents that the Plaintiff States produce thereafter pursuant to the protocol outlined herein;

18          3.     Nothing in this Stipulation shall be deemed a waiver of Defendants’ right to seek a

19 clawback of a document based on a good-faith claim of attorney-client privilege or work-product

20 protection.

21          IT IS SO STIPULATED.

22 DATED: April 18, 2023                      OFFICE OF THE UTAH ATTORNEY GENERAL
                                              Brendan P. Glackin
23                                            Lauren M. Weinstein
24
                                              Respectfully submitted,
25

26
                                              By:          /s/ Lauren M. Weinstein
27                                                  Lauren M. Weinstein
28                                                  Counsel for the Plaintiff States

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 1 DATED: April 18, 2023                 MORGAN, LEWIS & BOCKIUS LLP
                                         Brian C. Rocca
 2                                       Sujal J. Shah
                                         Michelle Park Chiu
 3
                                         Minna L. Naranjo
 4                                       Rishi P. Satia

 5                                       Respectfully submitted,
 6

 7                                       By:          /s/ Brian C. Rocca
 8                                             Brian C. Rocca
                                               Counsel for Defendants Google LLC et al.
 9

10 DATED: April 18, 2023                 MUNGER, TOLLES & OLSON LLP
11                                       Glenn D. Pomerantz
                                         Kyle W. Mach
12                                       Kuruvilla Olasa
                                         Justin P. Raphael
13                                       Emily C. Curran-Huberty
                                         Jonathan I. Kravis
14                                       Marianna Y. Mao
15
                                         Respectfully submitted,
16

17
                                         By:         /s/ Glenn D. Pomerantz
18
                                               Glenn D. Pomerantz
19                                             Counsel for Defendants Google LLC et al.

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 1                                     E-FILING ATTESTATION

 2          I, Lauren M. Weinstein, am the ECF User whose ID and password are being used to file

 3 this document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the

 4 signatories identified above has concurred in this filing.

 5

 6

 7                                                       /s/ Lauren M. Weinstein
                                                         Lauren M. Weinstein
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                                             -5-                 Case No. 3:21-md-02981-JD
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                                          GOOGLE LLC
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 1 PURSUANT TO STIPULATION IT IS SO ORDERED.

 2

 3

 4 DATED: April ___, 2023
                                         The Honorable James Donato
 5
                                         United States District Judge
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                                             -6-                 Case No. 3:21-md-02981-JD
     STIPULATION AND [PROPOSED] ORDER RE: GOOGLE-PRODUCED DOCUMENTS IN UNITED STATES V.
                                          GOOGLE LLC
